            Case 1:17-cv-04179-DLC Document 17 Filed 08/03/17 Page 1 of 3




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


  UNITED STATES SECURITIES AND EXCHANGE
  COMMISSION,
                                                                 Civil No. 1:17-CV-04179-DLC
            Plaintiff,
                                                                 Honorable Judge Denise L. Cote
  v.                                                             Magistrate Judge Ronald L. Ellis

  ALPINE SECURITIES CORPORATION,

            Defendant.


DECLARATION OF NATHAN D. SIMMONS IN SUPPORT OF ALPINE SECURITIES
     CORPORATION’S MOTION TO DISMISS FOR LACK OF PERSONAL
               JURISDICTION AND IMPROPER VENUE

       I, Nathan D. Simmons, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury

under the laws of the United States of America that the following statements are true and correct:

       1.        My name is Nathan Simmons and I am a resident of Davis County, Utah, am over

18 years of age, and make the statements herein based on my personal knowledge.

       2.        I am the General Counsel of Alpine Securities Corporation (“Alpine”), the

Defendant in the above-entitled matter, and I work at Alpine’s headquarters..

       3.        Alpine is a Utah corporation with its headquarters in Salt Lake City, Utah.

       4.        Utah is Alpine’s principal place of business.

       5.        Alpine does not have an office or employees in New York.

       6.        Alpine does not operate any other business in New York.

       7.        Alpine does not have a registered agent in New York.

       8.        In the course of my duties as General Counsel, I became personally familiar with

the facts, parties, and claim in the above-entitled matter.



                                                  1
            Case 1:17-cv-04179-DLC Document 17 Filed 08/03/17 Page 2 of 3



       9.        I have reviewed The United States Securities and Exchange Commission’s

(“SEC’s”) Complaint filed in the above-entitled matter.

       10.       Based on the allegations in the SEC’s Complaint, and my personal knowledge of

the facts and events associated to the allegations in the SEC’s Complaint known to me at this

time, the following individuals, with their current residency, may be called as witnesses for

Alpine in its Defense in the above-entitled matter:

                 a.      Robert L. Tew, President at Alpine, resides in Utah

                 b.      Nathan D. Simmons, General Counsel at Alpine, resides in Utah

                 c.      Erin Zipprich, AML Officer at Alpine, resides in Utah

                 d.      Joshua Boyer, Director of Operations at Alpine, resides in Utah

                 e.      Christopher L. Frankel, CEO and CCO at Alpine, resides in Utah and

       Florida

                 f.      Randy Jones, Sales and Trading Manager at Alpine (formerly AML

       Officer), resides in Maine and commutes to work in Utah

                 g.      Ginnie Griffith (Baldwin), Registered Representative at Alpine, resides in

       Utah

                 h.      Erin Lui, Registered Representative at Alpine, resides in Utah

                 i.      Travis Standiford, former Sales Representative at Alpine, resides in Utah

                 j.      Todd Groskreutz, former CFO, AML Officer, and FINOP at Alpine,

       resides in Utah

                 k.      Elisha L. Werner, former AML Officer and legal counsel at Alpine,

       resides in Illinois

                 l.      Leia Farmer, former CCO and AML Officer at Alpine, resides in Iowa




                                                  2
          Case 1:17-cv-04179-DLC Document 17 Filed 08/03/17 Page 3 of 3



               m.        Holly Peck (Halpin), former legal counsel and AML Officer at Alpine,

       resides in Utah

               n.        Betsy Voter, former General Counsel at Alpine, resides in Utah

               o.        Mike Bennett, former Associate Counsel at Alpine, resides in Utah

               p.        Russell Jones, former Associate Counsel at Alpine, resides in Utah

               q.        Kyle Hampton, former Associate Counsel at Alpine, resides in Utah

               r.        Doug Wawrzynski, former legal counsel at Alpine, resides in Utah

               s.        Heather Noble, former Compliance Analyst at Alpine, resides in Utah

               t.        David Cazier, Controller and FINOP at Alpine, resides in Utah

       11.     Based on my personal knowledge of the SEC’s claim and the filed Complaint in

the above-entitled matter, Alpine’s documents which may be disclosed in the above-entitled

matter, including documents pertaining to any particular account or account activity, including

account records, stock and money movements, wire transfers, stock deposits and related due

diligence, order ticket and confirmations, trade blotters, and email records are located in Utah.

       12.     Finally, all drafting and filing of Suspicious Activity Reports (“SARs”), along

with assembly and preparation of underlying documents, occurred at Alpine in Utah, and Alpine

maintains hard copies of the SARs and the SARs’ inquiry files.

       WHEREFORE, I declare under penalty of perjury that the foregoing is true and correct.


       DATED this 3rd day of August, 2017.



                                       /s/ Nathan D. Simmons
                                       Nathan D. Simmons
                                       [electronically signed with permission]




                                                  3
